Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 1 of 9

 

Fill in this information to identify your case: United suse courte
Southern District of Texas
FILED

United States Bankruptcy Court for the: ‘ |
. j
{

 

|
| District of FEB 9 h 202?
{ .
| Case number (if known): Chapter you are filing under:
i QO) Chapter 7
oo Chapter 11 Nathan Ochsner, Clerk of Court
Chapter 12
| Q Chapter 13 C) Check if this is an

 

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 7 and the other as Debfor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equafly responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known), Answer every question.

ea Identify Yourself

About Debtor 1: 7 . ” . Le 2 oO 7 ne - About Debtor 2 (Spouse Only in'a Joint Case):
4. Your full name ~~ SO ps a : a os .

Write the name that is on your
government-issued picture Robert

 

 

 

identification (for example, First name _ First name
your driver’s license or Elmer
passport). Middle name : ' * Middle name
Bring your picture Welch
identification to your meeting Last name Last name
with the trustee. HH
Suffix (Sr., Jr., U, tt) > Suffix (Sr, dr, 1 W)

\

 

2. All other names you

 

 

 

 

 

 

 

 

have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name : Last name
First name ' First name
Middle name . Middle name
Last name ’ Last name
3. Only the last 4 digits of
your Social Security mx - xx -_ 0 3 7 7 XK
number or federal OR .. OR
Individual Taxpayer a
Identification number 9x - x -_0 _7 8 3 we 9 xx — XK
“(ITIN)

 

 

Official Form 101 . Voluntary Petition for individuals Filing for Bankruptcy page 1
Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 2 of 9

Debtor 1

Robert Elmer Welch Il

 

First Nama

Spa Tene ng ER eae es

4. Any business names
and Employer
identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

Middle Name

Last Name

Case number (i knowa),

 

 

About Debtor 1:

LJ | have not used any business names or EINs.

Gas Process Equipment Company

PATE TES ETE SE

About Debtor 2 (Spouse Only in a Joint Case):

(3 | have not used any business names or EINs.

 

Business name

Business name

 

Business name

89 0 7 8 3

EN”

Business name

EIN

 

5. Where you live

11326 Dawnheath Drive

If Debtor 2 lives at a different address:

 

 

 

 

Number Street

. Cypress TX 77433
City State ZIP Code
Harris
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

11965 FM 529

Number Street

 

 

City State ZIP Cade

 

County

If Debtor 2's mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

Houston TX 77041

City State ZIP Code City State ZIP Code
6, Why you are choosing Check one: Check one:

this district to file for
bankruptcy

 

1 over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(2) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

(J Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

{J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 
Debtor 4

Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 3 of 9

First Nama

Robert Elmer Welch Ill

Middle Name

Case number (i known),
Last Name

rar 2: BD the Court About Your Bankruptcy Case

Fh

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

QQ) Chapter 13

Gheck one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

LJ Chapter 7
C) Chapter 11
(J Chapter 12

LJ I will pay the entire fee when I file my petition. Please check with the clerk's office in your
jocal court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

id | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

UL] 1 request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

Official Form 101

_% Have you filed for 1 No
bankruptcy within the
last 8 years? Q Yes. District When Case number
MM/ DD /YYYY
District When Case number
MM / DDIYYYY
District When Case number
MM/ DD /YYYY
10. Are any bankruptcy i No
cases pending or being
filed by a spouse who is OQ) Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /Y¥YYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM /DD/YYYY
11. Do you rent your ZINo. Goto line 12,
residence? (J Yes. Has your landlord obtained an eviction judgment against you?

UL) No. Go to line 12.

CJ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 4

Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 4 of 9

First Name

Robert Elmer Welch III

Middle Name

Case number (if kaown),
Last Name

Repert About Any Businesses You Own as a Sole Proprietor

 

_ 12, Are you a sole proprietor

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

C] No. Go fo Part 4.
Yes. Name and location of business

Gas Process Equipment Company
Name of business, if any

11965 FM 529

 

 

 

 

Number Street
Houston TX 77041
City State ZIP Code

Check the appropriate box to describe your business:

LJ) Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

L) Commodity Broker (as defined in 11 U.S.C. § 401(6))

id None of the above

 

13.

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S. C. §
1182(1)?

For a definition of small
business debtor, see

11 U.S.C. § 101(51D).

Officlal Form 101

 

If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
choosing to proceed under Subchapter V so that it can set appropriate deadlines. lf you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

CI No. 1am not filing under Chapter 11.

{I No. lam filing under Chapter 11, but |am NOT a small business debtor according to the definition in
the Bankruptcy Code.

id Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy
Code, and ! do not choose to proceed under Subchapter V of Chapter 11.

{) Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 5 of 9

Debtor 1 ‘Robert Elmer Welch lil Case number (known)

First Name Middle Name Last Name

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14, Do you own or have any No
. roperty that poses or is
oleyed to pose a threat Cl Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

 

Number Street

 

 

City State ZIP Code :

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 6 of 9

Debtor 4 Robert Elmer Welch Ill

First Name Middle Name

Last Name

Case number (# known)__

 

Por Explain Your Efforts to Receive a Briefing About Credit Counseling

: 45. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

“About Debtor 4:°

You must check one:

id | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(I I received a briefing from an approved credit
counseling agency within the 1860 days before |

filed this bankruptcy petition, but | do not have a

certificate of completion.
Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment.”

plan, if any.

L) 1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

L) 1am not required to receive a briefing about
credit counseling because of:

(1) Incapacity. | have a mental illness ora mentat _

deficiency that makes me
incapable of realizing or making
rational decisions about finances.

C) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Cl] Active duty. { am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

"About Debtor 2 (Spouse Only in a Joint Case}:

. You must check one:

C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and I received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

U] | received a briefing from an approved credit
counseling agency within the 180 days before! :
filed this bankruptcy petition, but I do hot have a :
certificate of completion. :

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment :
plan, if any. :

CU | certify that I asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent :
circumstances merit a 30-day temporary waiver:
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.
if the court is satisfied with your reasons, you must
- Still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.
Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days,

Cl 1am not required to receive a briefing about
credit counseling because of:

Q Incapacity. {| have a mental illness or a mental :
deficiency that makes me :
incapable of realizing or making
rational decisions about finances.

Ql) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

CJ) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a :
motion for waiver of credit counseling with the court. :

Bankruptcy | page 6
Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 7 of 9

Debtor 1 Robert Elmer Welch III Case number (# known}

First Name Midcla Name Last Name

 

Ga Answer These Questions for Reporting Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

CJ No. Go to line 16b.
Yes, Go to line 17,

46. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C1 No. Go to line 16c,
id Yes. Go to line 17.

16c, State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under

Chapter 7? 44 No. 1am not filing under Chapter 7. Go to line 18.

Do you estimate that after Yes. ! am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and QO No

administrative expenses

are paid that funds will be C) Yes

available for distribution
to unsecured creditors?

 

18. How many creditorsdo ©) 149 C2 1,000-5,000 C) 25,001-50,000

 

 

 

 

you estimate that you i 50-99 (2 5,001-10,000 {) §0,001-100,000
owe? Q 100-199 Q 10,001-25,000 ©) More than 100,000
CJ 200-999
_ 49. How much do you Cd $0-$50,000 (J $1,000,001-$10 million C) $500,000,001-$1 billion
estimate your assets to (9 $50,001-$100,000 CJ $10,000,001-$50 million LI $1,000,000,001-$10 billion
be worth? Jis100,001-$600,000 [) $50,000,001-$100 million ©) $10,000,000,001-$50 billion
C3 $500,001-$1 million C) $100,000,001-$500 million (} More than $50 billion
. 20. How much do you C) $0-$50,000 LJ $1,000,001-$10 million LI $500,000,001-$1 billion
' estimate your liabilities © (J $50,001-$100,000 C) $10,000,001-$50 million C2 $1,000,000,001-$10 billion
to be? _A2¥$100,001-$500,000 (2 $50,000,001-$100 million C2 $10,000,000,001-$50 billion
C3 $500,001-$1 million LJ $100,000,001-$500 million LJ More than $50 billion

‘ihm Sign Below

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
_ For you correct.

If | have chosen to file under Chapter 7, 1 am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. 52, 1341, 1519, and 3571.
x (Db tt. lal? *.

 

 

Signature of Debtor 1 Signature of Debtor 2
Executed on 02/24/2022 Executed on

MM / DD /YYYY

MM / DD /YYYY

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 8 of 9

Debtor 1 Robert Elmer Welch Ul Case number (i known)

First Name Middle Name Last Name

 

. |, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attorney, if you are tq proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. { also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

 

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attorney for Debtor MM / OD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

   

Official Form 101 Votuntary Petition for Individuals Filing for Bankruptcy , page 8
Case 22-30460 Document1 Filed in TXSB on 02/24/22 Page 9 of 9

 

 

 

Debtor 1 Robert Elmer Welch HI Case number (if inown)
First Name Middle Name Last Name
- For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many peopie find it extremely difficult to represent
_ attorney , themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
"an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. if you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of ail your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

C} No

Cd Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CL} No

id Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

No

L) Yes. Name of Person .
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x MLASE, Uhl

 

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 02/24/2022 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone (281) 804-9506 Contact phone
Cell phone (281) 804-9506 Cell phone
Email address Fewili@ix.netcom.com Email address

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9
